









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
September 30, 2004









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed September 30, 2004.

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00918-CV

____________

&nbsp;

IN RE CURTIS MACK LEWIS, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On September 20, 2004, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; 

Relator seeks a writ of mandamus against the
district clerk of Brazoria County.&nbsp; We
have no jurisdiction to issue a writ of mandamus against a district clerk
unless such is necessary to enforce our jurisdiction.&nbsp; In re Washington, 7 S.W.3d 181, 182
(Tex. App.CHouston [1st Dist.] 1999, orig.
proceeding).&nbsp;&nbsp; We deny relator=s petition for writ of mandamus. 

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed September 30, 2004.

Panel consists of
Justices Yates, Edelman, and Guzman.





